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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


BAY VIEW CHAUTAUQUA
INCLUSIVENESS GROUP,                                  CASE NO. 17-cv-0622-PLM-RSK

       Plaintiff,

vs.                                                    HON. Paul L. Maloney

THE BAY VIEW ASSOCIATION OF                           Plaintiff’s Motion for Judgment on
THE UNITED METHODIST CHURCH, et al.,                  the Pleadings and Brief in Support

       Defendants.                                    ORAL ARGUMENT REQUESTED


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                PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS

       NOW COMES Plaintiff, by and through its attorneys of record, Salvatore Prescott & Porter,

PLLC, and for its Motion for Judgment on the Pleadings, states as follows:

1.     Defendant Bay View is endowed with state powers and is a political/municipal body,

meaning that its policies and practices must adhere to the U.S. and Michigan Constitutions.

2.     However, by undisputed policy and practice, Defendants prefer the Christian religion to

other religions, creating an unlawful establishment that must be enjoined. Specifically, Defendants

permit only Christians to purchase cottages within their town, in violation of the State and Federal

Constitution.
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3.     This practice not only violates the First Amendment, but it plainly violates civil rights laws,

namely the Fair Housing Act and Michigan’s Elliott-Larsen Civil Rights Act.

4.     Defendants fit no exemptions to these Acts for multiple, overlapping reasons.

5.     Because Federal and State law permit an injunction against further acts of discrimination

and declaratory judgment, this Court is empowered to act immediately to stop the admitted practice

of favoring the Christian religion and violating fair housing laws.

       WHEREFORE, Plaintiff urges this Court to grant this motion, filed under Federal Rule of

Civil Procedure 12(c), and afford the equitable relief requested within.

                                              Respectfully submitted,
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                                               /s/ Sarah S. Prescott
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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN


BAY VIEW CHAUTAUQUA
INCLUSIVENESS GROUP,                    CASE NO. 17-cv-0622-PLM-RSK

      Plaintiff,

vs.                                      HON. Paul L. Maloney

THE BAY VIEW ASSOCIATION OF             Plaintiff’s Brief in Support of Motion for
THE UNITED METHODIST CHURCH, et al.,    Judgment on the Pleadings

      Defendants.                       ORAL ARGUMENT REQUESTED


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      PLAINTIFF’S BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE
                                PLEADINGS
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       In Bay View, Michigan, a “community of cottages, lodgings, and multi-purpose buildings”

located northeast of Petoskey, only Christians with a reference letter from a church leader where

they attend or are members may own one of the more than 400 private cottages and two inns in

town. Answer to Am. Compl. ¶¶ 1, 48, 66, 84-85 (PageID.341, 348, 351, 353). This motion seeks

declaratory and injunctive relief and judgment as a matter of law that this undisputed, ongoing

practice violates State and Federal law.

                                 FACTUAL BACKGROUND

I.     Michigan’s Summer Resorts Act of 1889 Endows Bay View With Substantial
       Governmental Powers

       Defendant Bay View Association of the United Methodist Church was incorporated under

a unique Michigan law, the 1889 Summer Resorts Act, which delegates substantial government

powers to summer resorts. Act 39 of the Public Acts of 1889, MCL § 455.51 et seq; Answer to

Am. Compl. ¶ 25 (PageID.471-472); Am. Compl. ¶ 26 (PageID.344). Defendant Board of Bay

View is the governing body of the Association, and Defendant Bay View Real Estate Management,

Inc. is a Michigan corporation and wholly-owned, for-profit subsidiary of the Association, which

manages Defendants’ real estate operations. Am. Compl. ¶¶ 14, 15 (PageID.343). (Defendants are

referred to collectively as “Bay View” unless otherwise noted.)

       The Summer Resorts Act created Bay View as “a body politic and corporate” for the

purpose of purchasing and improving lands to be occupied for summer homes. MCL § 455.51

(emphasis added). The Act also delegates to Bay View various government powers, such as the

power to levy and collect taxes, to deputize a marshal who “shall have the authority of a deputy

sheriff” and who is authorized to make arrests, to appoint a board of assessors, and to control its

lands. MCL §§ 455.58, 67-71 & 215. Under State law, penalties for violation of any of Bay View’s

bylaws may include fines and even imprisonment:

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       Any person who shall violate any of such bylaws . . . shall be deemed guilty of a
       misdemeanor, and upon conviction thereof shall be punished by a fine not
       exceeding 25 dollars or imprisonment in the county jail not to exceed 30 days, or
       by both such fine and imprisonment in the discretion of the court, which fine shall
       go to the same fund as other fines for misdemeanor in the township where such
       association lands may be located.

MCL § 455.60. In addition, the law also delegates to Bay View’s Board “the management and

control of the business, finances, rights, interests, buildings and all property, real and personal, of

the corporation, and [the Board] shall represent the association with the full power and authority

to act for it in all things whatsoever . . . ” MCL § 455.58.

       Consistent with the statutorily-delegated government authority described above, Bay View

has incorporated municipal functions into its bylaws such as: describing the functions of the board

of assessors (bylaws 23-27), providing that the Board may appoint marshals with the power to

arrest (bylaw 28), authorizing fines and imprisonment for violations of the bylaws (bylaw 67),

requiring building permits and architectural review of all cottage modifications (bylaw 40),

requiring a permit to engage in commercial activity (bylaws 57-58), regulating personal conduct

including the prohibition of gambling and drinking of alcoholic beverages in public buildings and

the restriction of all activities on Sunday mornings (bylaws 59-64), and making Michigan traffic

laws applicable in Bay View (bylaws 65-66). Current Bylaws, ECF No. 29-2 (PageID.368-416).

II.    Bay View Requires Would-be Members to Pass a Religious Litmus Test, Limiting the
       Right to Own Private Property in Bay View to Practicing Christians

       Bay View owns the real property within the Association’s borders, but individual members

own the more than 400 cottages and two inns situated there. Answer to Am. Compl. ¶ 66

(PageID.484); Current Bylaws, ECF No. 29-2 at 32-a (PageID.392). Membership in the

Association is, in fact, a prerequisite to owning—whether by purchase or devise—a cottage in Bay

View. Answer to Am. Compl. ¶¶ 84-85 (PageID.488); Current Bylaws ECF No. 29-2 at 1-a

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(PageID.376). Bay View’s current membership criteria require that all would-be members be “of

the Christian persuasion” and that they provide a reference letter from “[t]he pastor or designated

leader of the church the applicant is a member of or attends.” Id. at 1-d. Bay View admits that this

policy is actively enforced. Answer to Am. Compl. ¶¶ 84, 85 (PageID.488). Members of Plaintiff

are harmed by the Christian membership requirement because, among other things, existing

owners are unable to pass their cottages to family members including spouses, children and

grandchildren who do not meet the religious test; also, prospective owners who do not meet the

religious test are unable to purchase homes in the community and are thus relegated to renting.

III.   Despite Bay View’s Historical Operation Independent from Any Church, Bay View
       Has Recently Attempted to Formally Align Itself with the United Methodist Church
       to Circumvent Federal and State Anti-Discrimination Statutes

       Bay View has always operated independently from any church. As it admits, Bay View has

never in its history entered into any affiliation with the United Methodist Church or any other

church. Answer to Am. Compl. ¶ 65 (PageID.483-484). Moreover, the United Methodist Church

has not historically voted on or controlled Bay View’s operations, and the organization has never

selected its Trustees based on the dictate of any church. Id. at ¶¶ 69-70 (PageID.484). Bay View

admits that in 2013, it filed articles of amendment with Michigan’s Department of Licensing and

Regulatory Affairs (“LARA”) on an ecclesiastical corporation form, which LARA rejected.

Answer to Am. Compl. ¶ 51 (PageID.480); 7/10/13 LARA Determination, ECF No. 29-7

(PageID.443-445).

       Despite Bay View’s historical independence from any church, in 2007, Bay View revised

its bylaws to mandate that 60% of Board trustees “shall be members of The United Methodist

Church whose election shall be ratified by the West Michigan Conference of the United Methodist

Church (‘the Church’)” (bylaw 2), and that if the Association is dissolved, its assets will be



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transferred to the Church (bylaw 75-b), and that changes to these new items (2 and 75-b) must

henceforth be approved by the Church (77-b). Current Bylaws, ECF No. 29-2 (PageID.368-416).

       The above bylaw changes occurred entirely internally and never received recognition by

the State of Michigan. Indeed, Bay View repeatedly attempted to amend its Articles of

Incorporation to align with the 2007 bylaw changes, and to grant the United Methodist Church

certain control rights over Bay View’s affairs in the eyes of the State. Answer to Am. Compl. ¶ 53

(PageID.480); Rejected Articles, ECF No. 29-9 (PageID.455-462). The would-be amendments

contained text pulled verbatim from exemptions to the anti-discrimination provisions found in the

Federal Fair Housing Act and Michigan’s Elliott-Larsen Civil Rights Act which are discussed

below, i.e., Bay View sought to establish that it “is operated, supervised or controlled by” the

United Methodist Church. However, as all sides admit, LARA refused to allow the amendment,

finding no statutory authority for the revision and noting that “MCL 455.51,” not the vote of

current members attempting to change the bylaws, “provides the purposes of a summer resort

association.” Id.

                                   STANDARD OF REVIEW

       Courts grant Rule 12(c) motions for judgment on the pleadings where, after taking as true

all well-pleaded material allegations of the opposing party, the moving party is nevertheless clearly

entitled to judgment. JPMorgan Chase Bank, N.A. v. Winget, 510 F.3d 577, 581 (6th Cir. 2007).

A motion under Rule 12(c) turns on legal issues, not disputed facts. Jones v. Pramstaller, 678 F.

Supp. 2d 609, 614 (W.D. Mich. 2009) (Maloney, J.). While this Court must construe the complaint

in the light most favorable to the non-moving party, the court may “take into account items

appearing in the record and attached exhibits” as well as any other items of public record without

converting the motion into one for summary judgment. Id. at 615 (internal citations and quotation



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marks omitted).

                                             ARGUMENT

I.        Bay View is Liable for Violation of the First Amendment Per 42 U.S.C. § 1983.

          The following facts are admitted or uncontested within the answer to the complaint in this
matter:

              ALLEGATION 13. Defendant Bay View is a Summer Resort and Assembly
               Association organized under Act 39 of the Public Acts of 1889, MCL § 455.51
               et seq.

              ALLEGATIONS 44, 48, 50, which contain the operative articles and bylaws
               of Bay View.

              ALLEGATION 84. [Per those bylaws] Only members of the Bay View
               Association may own a cottage in Bay View. To be a member, a person must
               be a member of or attend a Christian church.

          A.      Bay View is a “Person” Liable for its Officially-Promulgated Practices and
                  Procedures

          “Every person who, under color of any statute, ordinance, regulation, custom, or usage, of

any State or Territory, subjects, or causes to be subjected, any citizen of the United States or

other person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in an action at

law, suit in equity, or other proper proceeding for redress.” 42 U.S.C. § 1983.

          It is a matter of first impression whether the “Summer Resort” entity at issue in this case is

a municipal entity whose policies and practices afford relief under § 1983. The decision, however,

should not be a difficult one, since Michigan’s 1889 Summer Resort Act provides that all

associations formed under the Act, including Bay View, comprise “a body politic and corporate.”

MCL § 455.51. This is the very same expression used elsewhere to describe counties (see, e.g.,

MCL § 45.3) and villages (see, e.g., MCL § 61.12). The U.S. Supreme Court definitively put to

rest any question whether such entities may be liable under § 1983 in Monell v. Department of

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Social Services of City of New York, 436 U.S. 658 (1978):

       That the “usual” meaning of the word “person” would extend to municipal
       corporations is also evidenced by an Act of Congress which had been passed only
       months before the Civil Rights Act was passed. This Act provided that

               “in all acts hereafter passed . . . the word ‘person’ may extend and
               be applied to bodies politic and corporate . . . unless the context
               shows that such words were intended to be used in a more limited
               sense.” Act of Feb. 25, 1871, § 2, 16 Stat. 431.

       Municipal corporations in 1871 were included within the phrase “bodies politic
       and corporate” and, accordingly, the “plain meaning” of § 1 is that local
       government bodies were to be included within the ambit of the persons who could
       be sued under § 1 of the Civil Rights Act.

Id. at 688-90 (emphasis added).

       In Will v. Michigan Department of State Police, 491 U.S. 58 (1989), the United States

Supreme Court identified the term “body politic and corporate,” as the “most exact expression”

for a “public corporation” or a “corporation having powers of government.” Id. at 70, fn. 9 (citing

sources, including Black's Law Dictionary 143 (1891), which defined “body politic” as the “term

applied to a corporation, which is usually designated as a ‘body politic and corporate’” and “is

particularly appropriate to a public corporation invested with powers and duties of government”).

       A thorough search of law has disclosed no “body politic and corporate” created as a vessel

of state power which has not been held to be liable as a state actor under § 1983 for its officially

promulgated policies and acts.

       Beyond explicitly defining Bay View’s very existence as public, the delegation of public

functions within the 1889 Act confirms its governmental nature. By statute, Bay View has the

power to: appoint a marshal (MCL §§ 455.61 and 62); enforce laws including the power of arrest

(MCL § 455.68); form a board of assessors (MCL §§ 455.68-71); levy and collect taxes (MCL

§ 455.67); control its lands (MCL § 455.58); and many other police powers typically reserved to



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townships and cities cited above. Indeed, as set forth above, any person violating Bay View’s by-

laws may be deemed guilty of a misdemeanor, fined or imprisoned. MCL § 455.60.

       In Baldwin v. North Shore Estates Association, 179 N.W.2d 398 (Mich. 1970), the

Michigan Supreme Court addressed itself to a community created under a sister statute, MCL

§ 455.201 et seq. In that community, the board had similar powers to maintain a road, provide for

common needs, and call elections. Id. at 399. The Court held (just as Plaintiff argues here) that the

U.S. Constitution bound the defendant association, a public entity, “since corporations authorized

by the statute in question clearly possess many quasi-governmental characteristics.” Id. at 403.

Michigan’s Attorney General also has opined that such associations are public in nature and,

therefore, FOIA applies (OAG, 1997, No. 6942) (delegations almost identical to the delegation of

authority here afford “substantial authority which is governmental in character and which clearly

may affect the rights of the public” such that FOIA applies to these entities).

       In that Bay View is a political entity similar to a county or municipality, the next question

the Court must answer is when its actions occur under color of law. The Supreme Court set forth in

Monell what type of activity or action would suffice to establish liability—that is, constitute action

under color of law. It held:

       [M]unicipalities and other local government units [are] included among those
       persons to whom § 1983 applies. Local governing bodies, therefore, can be sued
       directly under § 1983 for monetary, declaratory, or injunctive relief where, as here,
       the action that is alleged to be unconstitutional implements or executes
       a policy statement, ordinance, regulation, or decision officially adopted and
       promulgated by that body’s officers. Moreover, although the touchstone of the §
       1983 action against a government body is an allegation that official policy is
       responsible for a deprivation of rights protected by the Constitution, local
       governments, like every other § 1983 “person,” by the very terms of the statute,
       may be sued for constitutional deprivations visited pursuant to governmental
       “custom” even though such a custom has not received formal approval through the
       body’s official decisionmaking channels.

Monell, 436 U.S. at 690–91 (emphasis added, footnotes omitted). The bylaws and Articles of Bay

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View are such official, disputed policies, and moreover, the custom of excluding non-Christians

is admitted in the Answer to the Complaint. In other words, exclusion of non-Christians from Bay

View is not an ultra vires or random act, and it is not the act of an agent or subordinate, but rather,

it is the official policy of the Defendants, for which Defendants can be liable.

        Notably, it is specifically in its exercise of state-delegated powers that Bay View violates

the First Amendment. The State affords it “the management and control of the business, finances,

rights, interests, buildings and all property, real and personal, of the corporation….” MCL §

455.58. Bay View uses these specifically delegated powers to promulgate and enforce the religious

test in dispute here. Hence, the nexus between the state delegation of authority (power to set the

terms of ownership) and the challenged action (use of the power to determine terms of ownership

to exclude non-Christians) is unmistakable. As such, Plaintiff urges the Court to apply these

precedents to hold that Bay View is a political entity subject to suit for its official policies and

practices under 42 U.S.C. § 1983.

        B.      Even If Bay View Were a Purely Private Corporation and Not a Political Entity
                Directly Delegated Governmental Authority, It Is Akin to a Company Town
                and Thus Accountable Under the U.S. Constitution

        The above section argues that Bay View is a public body whose official policies and

practices subject it to possible liability under § 1983. Even if this Court were not to agree, the

Supreme Court has held that even purely private entities engage in “state actions” in situations

identified by the following tests: (1) the public function, (2) state compulsion, and (3) the symbiotic

relationship or nexus tests. Plaintiff submits that Defendants are liable under the public function

test.

        Under that test, a private entity is a state actor if it is delegated powers traditionally reserved

exclusively to the state, such as assessing taxes, holding elections, and arresting individuals. E.g.,



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Romanski v. Detroit Entm't, L.L.C., 428 F.3d 629, 637 (6th Cir. 2005). Whether an entity qualifies

under this test, may be decided as a matter of law. Id.

       Marsh v. Alabama, 326 U. S. 501 (1946) establishes how this test must be applied here. In

Marsh, an individual was arrested while leafletting in Chickasaw, Alabama, which was entirely

owned and operated by the Gulf Shipbuilding company. Id. at 502. Although the development was

not created by State law, and although it enjoyed none of the statutory delegations of State

authority that Bay View enjoys, the Supreme Court held its administration subject to constitutional

dictates because it was sufficiently similar to a public entity:

       Except for (ownership by a private corporation) [the development] has all the
       characteristics of any other American town. The property consists of residential
       buildings, streets, a system of sewers, a sewage disposal plant and a ‘business
       block’ on which business places are situated. . . . In short the town and its shopping
       district are accessible to and freely used by the public in general and there is nothing
       to distinguish them from any other town and shopping center except the fact that
       the title to the property belongs to a private corporation.

Id. at 502-503. These same facts obtain here, where Bay View is empowered to operate and does

operate “a community of cottages, lodges, and multi-purpose buildings” complete with streets,

sewers, stop signs, etcetera. Answer to Am. Compl. ¶ 1 (PageID.467). Indeed, since Bay View

enjoys many delegated governmental powers and is defined by State law as a public body, the case

here is stronger than in Marsh, which involved a simple plot of land developed by a private

corporation.

       Because it operates as a town, Bay View must provide the same constitutional protections

to individuals that any other governmental body must provide.

II.    Bay View Promotes Religion in Violation of the United States and Michigan
       Constitutions

       While individuals are and should be forever free to practice their religions, our Founders

recognized that a separation of “Religion and Civil Government is essential to the purity of

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both . . . .” James Madison, Letter “To the Baptist Churches in Neal’s Creek and on Black Creek,

North Carolina,” in LETTERS AND OTHER WRITINGS OF JAMES MADISON, FOURTH PRESIDENT OF

THE UNITED STATES, IN FOUR VOLUMES, Vol. II, J. B. Lippincott & Co., Philadelphia, (1865) at

511-512. The Establishment Clause of the First Amendment to the United States Constitution

therefore prohibits not only the establishment of a religion by the government, but the making of

a rule or law “respecting the establishment of religion.” U.S. Const., Amend. I. In Country Mill

Farms, LLC v. City of East Lansing, 280 F. Supp. 3d 1029, 1050–51 (W.D. Mich. 2017), this Court

laid out the basis for assessing an alleged violation of the Establishment Clause:

       The “touchstone” for evaluating Establishment Clause cases “is the principle that
       the ‘First Amendment mandates governmental neutrality between religion and
       religion, and between religion and nonreligion.” McCreary Cty., Kentucky v. ACLU
       of Kentucky, 545 U.S. 844, 859, 125 S.Ct. 2722, 162 L.Ed.2d 729 (2005). The
       Supreme Court has described the language of the Establishment Clause as “at best
       opaque.” Lemon v. Kurtzman, 403 U.S. 602, 612, 91 S.Ct. 2105, 29 L.Ed.2d 745
       (1971). “The First Amendment contains no textual definition of ‘establishment,’
       and the term is certainly not self-defining.” McCreary Cty., 545 U.S. at 874–75,
       125 S.Ct. 2722. As a result of the less than precise language used, each “inquiry
       calls for line drawing; no fixed, per se rule can be framed.” Lynch v. Donnelly, 465
       U.S. 668, 678, 104 S.Ct. 1355, 79 L.Ed.2d 604 (1984). When forced to draw lines
       between acceptable government action and prohibited government action, courts
       should keep in mind “the three main evils against which the Establishment Clause
       was intended to afford protection: ‘sponsorship, financial support, and active
       involvement of the sovereign in religious activity.’” Lemon, 403 U.S. at 612, 91
       S.Ct. 2105 (quoting Walz v. Tax Comm’n, 397 U.S. 664, 668, 90 S.Ct. 1409, 25
       L.Ed.2d 697 (1970)). In each case, the court should consider whether the challenged
       law or conduct has a secular purpose, whether its principle or primary effect is to
       advance or hinder religion, and whether it creates an excessive entanglement of
       government with religion. Lynch, 465 U.S. at 678, 104 S.Ct. 1355; Lemon, 403 U.S.
       at 612–13, 91 S.Ct. 2105.

       In the years since Lemon, the Supreme Court has refined the first two
       prongs. ACLU of Ohio Found., Inc. v. DeWeese, 633 F.3d 424, 431 (6th Cir. 2011).
       The first prong in Lemon is now “the predominant purpose test.” Id. (citing ACLU
       of Kentucky v. Mercer Cty., Kentucky, 432 F.3d 624, 635 (6th Cir.
       2005)); see McCreary Cty., 545 U.S at 860, 125 S.Ct. 2722 (“When the government
       acts with the ostensible and predominant purpose of advancing religion, it violates
       that Establishment Clause value of official religious neutrality, there being no
       neutrality when the government’s ostensible object is to take sides.”); Satawa v.

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        Macomb Cty. Rd. Comm’n, 689 F.3d 506, 526 (6th Cir. 2012) (“Under
        today’s Lemon test, we ask: (1) whether the government’s predominant purpose
        was secular ....”). For this inquiry, “we generally accept the government’s stated
        rationale for its action.” Satawa, 689 F.3d at 526. But, the court has a duty to
        determine whether the stated secular reason is genuine or a mere sham. Id. For the
        predominant purpose test, the court held that “[p]urpose is determined from the
        perspective of an objective observer, who is “credited with knowledge of ‘readily
        discoverable fact,’ including ‘the traditional external signs that show up in the text,
        legislative history, and implementation of a statute, or comparable official
        act.’” ACLU of Kentucky v. Grayson Cty., Kentucky, 591 F.3d 837, 848 (6th Cir.
        2010) (internal quotation marks omitted) (quoting McCreary Cty., 545 U.S. at 862,
        125 S.Ct. 2722). When considering purpose, the history and context of the
        government’s action are significant. DeWeese, 633 F.3d at 432.

        In the second prong of the Lemon test, the court considers the primary effect of the
        government’s action. American Atheists, Inc. v. City of Detroit Downtown Devel.
        Auth., 567 F.3d 278, 291–94 (6th Cir. 2009). The court should consider “whether
        ‘the challenged governmental action is sufficiently likely to be perceived by
        adherents of the controlling denominations as an endorsement, and by the
        nonadherents as a disapproval, of their individual religious choices.’” Grayson
        Cty., 591 F.3d at 854 (quoting Cty. of Allegheny v. ACLU Greater Pittsburgh
        Chapter, 492 U.S. 573, 109 S.Ct. 3086, 106 L.Ed.2d 472 (1989) abrogated
        by Town of Greece, New York v. Galloway, ––– U.S. ––––, 134 S.Ct. 1811, 188
        L.Ed.2d 835 (2014)). Where purpose considers the intended effect, the second
        inquiry of the Lemon test considers the actual effect. Id. (citing Adland v. Russ, 307
        F.3d 471, 484 (6th Cir. 2002)). The second inquiry also uses the standard of an
        objective observer. Id. “‘If context, history, and the act itself sends the
        unmistakable      message      of    endorsing religion,      then    the     act    is
        unconstitutional.’” Id. (quoting Mercer Cty., 432 F.3d at 637).

        As is readily observed from the four corners of the bylaws and Articles at issue, Defendants

purposefully promulgate the Christian religion. There is no question but that the animating purpose

of its explicitly religious litmus test is religious. As such, the challenged policies fail the first prong

of the Lemon test. Plaintiff anticipates Defendants will not even attempt to argue otherwise.

        The answer to the Complaint further relays the primary effect of Bay View’s policies: one

must be a practicing Christian (with a Christian minister’s written “approval”) to own a home in

Bay View. This amounts to a failure of the second prong of Lemon. Defendants do not even dispute

that they endorse the Christian religion.



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       In settlement discussions, Defendants have cited Hurley v. Irish-American Gay, Lesbian &

Bisexual Group of Boston, 515 U.S. 557 (1995), as support for the proposition that private entities

are free to exclude those whose speech they do not wish to support. The question the Court took

up in that case, in its own words, was whether a state “may require private citizens who organize

a parade to include among the marchers a group imparting a message the organizers do not wish

to convey.” Id. at 559. Aside from the complete lack of factual similarity to this case, Hurley

pertained to a private march, not a public entity explicitly endorsing a preferred religion. This case

involves a “body politic” entrusted with significant state power, misusing specifically that state-

delegated power to create a landlord class made up of a preferred religious group. Nothing in

Hurley endorses such a result. Because Defendants’ conduct fails the Lemon test, it reflects an

unconstitutional establishment that must be declared unlawful.

       Bay View’s religious test also violates the Michigan constitution. In Article 1 it provides,

“The civil and political rights, privileges and capacities of no person shall be diminished or

enlarged on account of his religious belief.” Mich. Const. 1963, art 1, Sec. 4. Michigan courts

apply this provision and the Establishment Clause of the First Amendment effectively identically.

Alexander v.    Bartlett, 165 N.W.2d 445, 448 (Mich. App. Ct. 1968); Advisory Opinion re

Constitutionality of PA 1970, No 100, 180 N.W.2d 265, 274 (Mich. 1970). For the reasons set

forth above, Plaintiff respectfully urges that Defendants’ conduct cannot pass muster under

Michigan’s constitution.

III.   Bay View’s Discriminatory Practices Violate Fair Housing Laws

       It is undisputed that section 1-d of the Bay View bylaws requires Christian practice and

 the reference letter of a pastor for cottage ownership. Answer to Am. Compl. ¶¶ 48, 84

 (PageID.479, 488). Further, this discriminatory policy is actively enforced. Id. Of importance



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 relative to the Federal Fair Housing Act (“FHA”) and Michigan’s Elliott-Larsen Civil Rights

 Act (“ELCRA”), Bay View further admits the following facts:

           ALLEGATION 13. Defendant Bay View is a Summer Resort and Assembly
            Association organized under Act 39 of the Public Acts of 1889, MCL § 455.51 et
            seq.

           ALLEGATION 65. Neither the United Methodist Church, nor any other church, has
            entered any formal affiliation agreement with Bay View in its history, to operate or
            control Bay View.

           ALLEGATION 66. Individuals privately own and operate each of the more than 400
            cottages and the two inns within Bay View.

           ALLEGATION 69. Bay View does not, and has never, selected its Trustees
            based on the dictate of any church.

           ALLEGATION 70. The United Methodist Church has not historically voted
            on or otherwise controlled Bay View’s operations.

           ALLEGATION 71. A Methodist Bishop who serves ex officio on the Defendant
            Board “does not vote.”

           ALLEGATION 72. Bay View selects a Director of Religious Life with no
            approval required by the United Methodist Church, and this Director is not
            required to be a United Methodist.

           ALLEGATION 91. Some members own more than one cottage and rent them for
            income or they rent to their family, for all or part of each season. Several cottages
            appear for short-term rent on the Airbnb.com web site as well.

           ALLEGATION 118. The cottages at issue in this suit are buildings or structures
            occupied as or designated or intended for occupancy as residences of one or more
            families.

       A.      Bay View Clearly Violates the FHA

       The FHA prohibits discrimination in selling, renting, and negotiating for the sale of

dwellings on the basis of religion. 42 U.S.C. § 3604(a)-(d). Since Bay View concedes (e.g.

Allegation 118) that its cottages are intended for occupancy as family residences, they are

“dwellings” within the meaning of the FHA. See 42 U.S.C. § 3602(b). Because Bay View openly


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discriminates on the basis of religion, its only defense to Plaintiff’s FHA claim is that it qualifies

for exemption from the FHA.

          Bay View bears the burden of establishing any exemption applies. Fair Hous. Advocates

Ass'n, Inc. v. City of Richmond Heights, Ohio, 209 F.3d 626, 634 (6th Cir. 2000). The FHA’s

stated policy is “to provide, within constitutional limitations, for fair housing throughout the

United States” and this Court is called upon to generously construe the FHA to further the “broad

and inclusive” aims of its protections. City of Edmonds v. Oxford House, Inc., 514 U.S. 725, 731

(1995) (internal citations and quotations omitted). The Sixth Circuit in particular has mandated

that exemptions from the [FHA] “be construed narrowly, in recognition of the important goal of

preventing housing discrimination.” Fair Hous. Advocates Ass'n, 209 F.3d at 634 (emphasis

added).

          Based on Bay View’s own admissions, it cannot qualify for the only conceivably applicable

exemption, the religious organization exemption. The exemption provides:

          Nothing in this subchapter shall prohibit a religious organization, association, or
          society, or any nonprofit institution or organization operated, supervised or
          controlled by or in conjunction with a religious organization, association, or
          society, from limiting the sale, rental or occupancy of dwellings which it owns or
          operates for other than a commercial purpose to persons of the same religion, or
          from giving preference to such persons, unless membership in such religion is
          restricted on account of race, color, or national origin.

 42 U.S.C. § 3607(a). Bay View cannot satisfy this exemption for four independent reasons.

          First, and most straightforward, Defendants do not own or operate the cottages at issue.

Rather, the cottages are privately held and operated, which Bay View has admitted. Answer to Am.

Compl. ¶ 66 (PageID.484). Beyond Defendants’ controlling admission as to ownership, Michigan’s

Court of Appeals has recognized the private ownership of the cottages as well. In Bay View

Association v. Township of Bear Creek and the Department of Treasury, it observed, “All of the



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cottages are privately owned….” 2015 WL 493355, at *5 (Mich. App. Ct. Feb. 5, 2015) (Ex. A).

       This failure to satisfy the plain language of the religious organization exemption is

dispositive without further analysis. E.g., Badaracco v. Commissioner, 464 U.S. 386, 398 (1984)

(rejecting “nonliteral reading” of tax statute requested “on grounds of equity to the repentant

taxpayer,” explaining that when courts examine a statute “which must receive a strict

construction,” they “are not authorized to rewrite [the] statute because they might deem its effects

susceptible of improvement”), United States v. Wilcox, 2010 WL 55964, at *5 (W.D. Mich. Jan.

4, 2010) (Maloney, J.) (explaining that where statutory language is unambiguous, “the court’s

inquiry must cease”) (Ex. A). This first obstacle to applying the exemption is sufficient, without

more. Cf. Hogar Agua y Vida en el Desierto, Inc. v. Suarez-Medina, 36 F.3d 177, 184 (1st Cir.

1994) (holding that all preconditions to a single FHA exemption are “cumulative” such that if any

part is unsatisfied, the exemption cannot apply).

       A second, separately sufficient reason Bay View cannot fit the exemption is that its cottages

are privately owned and disposed of for commercial purposes. “Commercial activity” in the

exemption is not defined, nor has the Sixth Circuit adopted a definition. The Tenth Edition of

Black’s Law Dictionary defines “commercial activity” as “[a]n activity, such as operating a

business, conducted to make a profit.” Black’s Law Dictionary (10th ed. 2014). This is also the

definition adopted by the only case to consider this provision that could be located.

       The fact that Bay View operates for-profit was established (or is at least inherent) in the

decision of Bay View Association v. Township of Bear Creek. In that matter, Bay View attempted

to argue that its lands were held and operated for charitable, non-profit purposes, to secure

favorable taxation. 2015 WL 493355, at *4 (Ex. A). In addition to recognizing that all cottages

were “privately owned” the Court rejected the notion that the many religious or enrichment



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activities that Bay View sponsors can alter its primary identity as a tony summer resort. Id. at

*5. The Court explained, “[w]hile the numerous charitable and benevolent activities petitioner

engages in are certainly admirable, it appears petitioner’s primary purpose is to provide an

exclusive summer vacation community to those who meet its restrictive membership requirements

and have the financial means to purchase a summer cottage.” Id.

         Bay View also admits that its members rent their cottages for income for all or part of each

season, including short-term rentals on websites like Airbnb.com. Answer to Am. Compl. ¶ 91

(PageID.489). This differentiates Bay View from a group home owned, for example, by a seminary

or parish and offered to clergy without expectation of profit. Because Defendants cannot and will

not argue to this Court that the dwellings of Bay View at issue are bought and sold or rented or

used other than for individuals’ profits, the religious exemption does not apply.

         The two points above each independently suffice to grant this motion. However, it is also

the case that Bay View’s requirements for membership and trusteeship are not specific to United

Methodists. Rather, the bylaws favor individuals “of Christian persuasion.” Current Bylaws, ECF

No. 29-2 at 1-d (PageID.376). By contrast, the FHA exemption at issue contemplates “a religious

organization . . . limiting the sale, rental or occupancy of dwellings . . . to persons of the same

religion . . .”

         Again, as set forth above, the exemption is to be read strictly and narrowly. If there is any

question whether the phrase “the same religion” may be read as an invitation to equate Roman

Catholics, Latter-Day Saints, Seventh-Day Adventists, Pentecostalists, Jehovah’s Witnesses,

Eastern Orthodox Catholics, Anglicans, Lutherans, Presbyterians, Unitarians, Hussites,

Episcopalians, Christian Scientists and many more “of Christian persuasion,” then this motion must

be granted. That is true because, again, the exemption is to be read narrowly and the burden is on


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Defendants to show that they fit within it. Plaintiff submits that the proposition that these faiths—

which have unique histories, ecumenical hierarchies, doctrines, practices, and even foundational

texts—are “the same religion” is impossible to defend. After all, wars have literally been fought

over their adherents’ fervent conclusions that they are not “the same.” Nor can Defendants readily

establish that all those “of Christian persuasion” are of “the same religion,” when they themselves

enforced a limitation or quota on Catholic ownership until the 1980s. See Am. Compl. ¶ 46

(PageID.348).

       In addition to the above three independently sufficient reasons not to apply the exemption

at issue, Bay View is not a religious organization, association, or society, nor is it operated,

supervised, or controlled by or in conjunction with a religious organization. Bay View admits that

it is “a Summer Resort and Assembly Association organized under Act 39 of the Public Acts of

1889, MCL § 455.51 et seq.” Answer to Am. Compl. ¶ 13 (PageID.469). It may be such an entity

with a religious history, but even certain States had religious founders, including Utah and

Pennsylvania. That does not mean that they are somehow exempt from Federal laws. Bay View’s

corporate existence as a political entity under State law could not be clearer. Moreover, defining

property and property rights is the province of State law, not Federal law. Paul v. Davis, 424 U.S.

693, 709 (1976).

       If the enabling legislation were remotely unclear, Michigan’s Supreme Court established

that summer resorts like Bay View are not “religious adjunct[s]” in Terpening v. Gull Lake

Assembly of Michigan Conference of Methodist Protestant Church, 299 N.W. 165, 167 (Mich.

1941). In that case, the entity at issue was incorporated under the same Summer Resorts Act at

issue here; the entity involved was known as the Gull Lake Assembly of Michigan Conference of

Methodist Protestant Church. Id. at 166. The defendants were the officers of the Assembly, and



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“considering its religious purpose,” they wanted to wind down the entity for the “interest and

benefit of the Methodist Protestant Church, to further the work and interests of the church.” Id.

The Supreme Court refused this request, holding that “[t]he Assembly was a summer resort

association with mundane and pecuniary considerations so predominant as to bar holding it a

religious adjunct . . . .” Id. at 167.

        Turning to Bay View’s own history, in 2013, it filed articles of amendment with LARA on

an ecclesiastical corporation form, which that agency rejected. Answer to Am. Compl. ¶ 51

(PageID.480); 7/10/13 LARA Determination, ECF No. 29-7 (PageID.443-445). Thereafter Bay

View repeatedly attempted—unsuccessfully—to amend its Articles of Incorporation by pulling

language verbatim from the FHA’s religious exemption to establish that Bay View is “operated,

supervised or controlled by the United Methodist Church.” Michigan’s Department of Licensing

and Regulatory Affairs (LARA) rejected the following language of the proposed amendments:

        REJECTED: In furtherance of its exempt purposes within the meaning of section
        501(c)(3) of the Internal Revenue Code, the organization is organized and operated
        exclusively for the benefit of, to perform the functions of, or to carry out the
        purposes of the United Methodist Church and is operated, supervised or controlled
        by the United Methodist Church.

        REJECTED: At all times, at least sixty percent of the members of the organization’s
        Board of Trustees must be appointed by the West Michigan Conference of the
        United Methodist Church, an organization required to act in accordance with The
        Book of Discipline of the United Methodist Church.

        REJECTED: Any amendments to the following provisions shall require the
        approval of the West Michigan Conference of the United Methodist Church:
        Article III, Section 2; Article VII, Section 2, Article X and Article XII.

See LARA Determinations, ECF No. 29-9 (PageID.455-462).

        As demonstrated by these would-be governance changes, Bay View’s current officers

clearly wish Bay View had a different, ecclesiastic corporate form than it actually has. But nothing

in the FHA, or precedent interpreting it, permits this Court to rule, based on what a litigant seeking

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a statutory exemption cites as its mission or organizing ethos. Rather, the Court is required to rule

based on what the entity actually is. A religious entity is a distinct creature under Michigan law,

see MCL § 450.178, while Bay View is a summer resort, as all parties agree.

       Nor can Bay View show that it fits into the second sub-category for exemption: that it is

“operated, supervised, or controlled by or in conjunction with” the United Methodist Church. As

reviewed above, Bay View admits that it has never entered any formal affiliation with any church

to operate or control Bay View, that it has never selected its Trustees based on the dictate of any

church, that the United Methodist Church has not historically voted on or otherwise controlled Bay

View’s operations, and that while a Methodist Bishop serves ex officio on the Bay View Board, he

does not vote. Answer to Am. Compl. ¶¶ 64, 69-71 (PageID.483, 484-485). Other facts admitted

in the Answer and cited above indicate that Bay View rentals are permitted without any attention

at all to the religion of the renter. As a result, the “community” actually present any given summer

is whatever mix the owners want, based on going rental rates. This is why Michigan’s Courts have

recognized Bay View’s central purpose is to provide a “summer vacation community to those who

…have the financial means” to pay the going rates, as cited above.

       While the Sixth Circuit has not interpreted this portion of the exemption, the Third Circuit

has done so in a matter rather like this case. In United States v. Columbus Country Club, it

concluded that a country club did not meet the criteria for exemption from the FHA because it was

not operated, supervised, or controlled by or in conjunction with the Roman Catholic Church, as

argued by its organizers. 915 F.2d 877, 883 (3d Cir. 1990).

       The country club in that case restricted ownership of its 46 summer homes to members in

good standing of the Roman Catholic Church. Id. at 879. Just as is admittedly the case here, the

Columbus Country Club was not formally affiliated with the Roman Catholic Church, nor with



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any Catholic organization. Id. It defended, however, on the ground that, from its inception in the

1920s, religious expression had been an integral feature of the community. Id. Just as in this case,

its bylaws did not include a religious test until recent decades. Id. Nevertheless, the grounds had

been dedicated in a special ceremony led by its spiritual director and two priests. Id. at 884

(dissent). Moreover, the Archbishop of Philadelphia had afforded the Club special permission to

have mass celebrated in a chapel on the club grounds. Id. at 879. The Court held that to be operated

“in conjunction with” a church, “there must be a mutual relationship between the non-profit society

and a religious organization” and that the relationship “cannot depend solely on the activities of

the non-profit organization nor be viewed only from its perspective.” Id. at 883.

       Like the Columbus Country Club, Bay View admitted in the provisions highlighted above

that it has no formal affiliation with a church, nor does any church operate or control its affairs.

Individual Bay View home owners’ individual relationships with the United Methodist Church

may well be extensive, but Bay View itself does not operate at the direction of or otherwise “in

conjunction with” the Church.

       In sum, based on Bay View’s admissions and controlling documents, it clearly cannot

establish that it meets the Fair Housing Act’s religious organization exemption.

       B.      Bay View Violates Michigan’s ELCRA

       The ELCRA prohibits discrimination based on religion. MCL § 37.2505. The entities that

can be sued for such discrimination include an association, corporation, or a political subdivision

of the state, including a special district or authority of the state. MCL § 37.2103(g). By its own

admission and in its bylaws, Bay View discriminates based on religion by prohibiting the sale and

negotiation for sale of real estate to non-Christians and non-practicing Christians, as cited above.

Accordingly, the ELCRA violation is unambiguous.



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       Bay View also fails to meet the requirements of the religious exemption to the ELCRA.

This exemption, like the religious exemption to the FHA, is narrow and should be strictly construed:

       Sec. 505. (1) A condition, restriction, or prohibition, including a right of entry or
       possibility of reverter, that directly or indirectly limits the use or occupancy of real
       property on the basis of religion . . . is void, except a limitation of use as provided
       in section 503(1)(c) or on the basis of religion relating to real property held by a
       religious institution or organization, or by a religious or charitable organization
       operated, supervised, or controlled by a religious institution or organization, and
       used for religious or charitable purposes.

       Bay View does not meet this exemption for three reasons argued and cited above: (1) the

cottages at issue are not “held by” Bay View; they are privately owned. (2) The cottages are not

used for religious or charitable purposes, but are private vacation homes. What is more, Bay View

admits that “[s]ome of its members own more than one cottage and rent them for income . . . for

all or part of each season” and that “[s]everal cottages appear for short-term rent” on Airbnb.

Answer to Am. Compl. ¶ 91 (PageID.489). (3) Bay View is not a religious institution or

organization, nor is it a religious or charitable organization operated, supervised, or controlled by

a religious institution or organization. As noted above, a Michigan appellate court has already

rejected Bay View’s argument that its enrichment activities render it an operation for religious or

charitable purposes. See Bay View Association v. Township of Bear Creek, 2015 WL 493355, at

*5 (Ex. A).

       Because Bay View cannot establish that it is a religious entity that owns the disputed

cottages and uses them “for religious or charitable purposes,” the anti-discrimination provisions

of the ELCRA prohibit its discriminatory criteria for property ownership.

                 AUTHORITY FOR RELIEF AND RELIEF REQUESTED

       For the reasons set forth above, Plaintiff requests that this Court grant the foregoing motion

for judgment on the pleadings pursuant to Rule 12(c) and declare void the challenged provisions


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detailed in Exhibit A to the Amended Complaint (highlighting the precise language of the bylaw

and Articles at issue) and permanently enjoin future enforcement of those provisions. ECF No.

29-2 (PageID.368-416).

        28 U.S.C. § 2201(a) empowers this Court to afford declaratory relief. Such relief will

“serve a useful purpose in clarifying the legal relations at issue” by “putting the public on notice”

that a given practice is unconstitutional. Hanas v. Inner City Christian Outreach, Inc., 542

F. Supp. 2d 683, 693 (E.D. Mich. 2008). Absent this step, there is “some likelihood of the

recurrence” of these kinds of constitutional torts. Id. Nor is there any state court action or mere

procedural jousting at issue to weigh against such relief. Rather, declaring the policies identified

in Exhibit A void would go far toward resolving this matter.

        The FHA and ELCRA offer independent and complementary bases for enjoining future

enforcement of the provisions highlighted in Exhibit A to the Amended Complaint. 42 U.S.C.

§ 3613(c)(1); MCL § 37.2801. Moreover, this Court is to enjoin unlawful conduct under these acts

without analysis of the usual criteria for granting injunctions. Where, as here “Congress has

expressly authorized the granting of injunctive relief to halt or prevent a violation of [an Act of

law], traditional equitable criteria1 do not govern the issuance of preliminary injunctions.” CSX

Transp., Inc. v. Tennessee State Bd. of Equalization, 964 F.2d 548, 551 (6th Cir. 1992) (emphasis

added). Instead, in determining whether or not to grant a request for injunctive relief under the

FHA, “[t]he critical question . . . is whether a sufficiently flagrant violation of the plaintiffs’ civil

rights—the     guidepost     for    granting FHA injunctive       relief—has     occurred.” Ueno       v.

Napolitano, 2007 WL 1395517, at *4 (E.D.N.Y. May 11, 2007) (Ex. A). Put another way, the




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 These non-controlling traditional criteria for assessing a preliminary injunction are the likelihood
of success, inadequate legal remedy and public interest factors.
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Court need “determine only whether there is ‘reasonable cause’ to believe that a violation . . . has

occurred or is about to occur” in order to enjoin it. CSX Transp. Inc., 964 F.2d at 551. “The Court

must craft injunctive relief with a view toward the statute’s goals of preventing future violations

and removing lingering effects of past discrimination. The scope of the injunction is to be

determined by the nature and extent of the legal violation.” United States v. Space Hunters,

Inc., 2004 WL 2674608, at * 8 (S.D.N.Y. Nov. 23, 2004) (Ex. A).

       As Defendants admit, their explicit religious test has been entrenched for more than fifty

years. No remedy short of an injunction can end Bay View’s ongoing unlawful practice. Short of

an injunction, members of the Bay View Chautauqua Inclusiveness Group will not be able to pass

unique cottages—in some cases cottages owned by their families for generations—to their non-

Christian spouses or children when they die, nor may others who cannot pass the Christian litmus

test buy. As such, Plaintiff Bay View Chautauqua Inclusiveness Group respectfully urges this

Court to act promptly to vindicate Federal and State civil rights guarantees.

                                              Respectfully submitted,
                                              SALVATORE PRESCOTT &
                                              PORTER, PLLC
                                               /s/ Sarah S. Prescott
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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


BAY VIEW CHAUTAUQUA
INCLUSIVENESS GROUP,                                 CASE NO. 17-cv-0622-PLM-RSK

       Plaintiff,

vs.                                                   HON. Paul L. Maloney

THE BAY VIEW ASSOCIATION OF                          Certificate of Service
THE UNITED METHODIST CHURCH, et al.,

       Defendants.


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2018, the foregoing document was electronically filed

with the Clerk of the Court using the Court’s electronic filing system, which will send notification

of such filing to all counsel of record.

 Dated: April 23, 2018                           /s/ Tara L. Lank
                                               Tara L. Lank, Legal Secretary




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